     Case 9:20-cv-80604-RKA Document 24 Entered on FLSD Docket 07/21/2020 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Southern District of Florida


                 MORIAH AHARON, et al.                                )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 9:20-cv-80604-RKA
                                                                      )
         CHINESE COMMUNIST PARTY, et al.                              )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PETROCHINA INTERNATIONAL (AMERICA), INC.
                                           Attn.: CT Corporation System
                                           1200 South Pine Island Road, Plantation, Florida 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           MATTHEW T. MOORE, ESQ.
                                           THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                           D/B/A BERMAN LAW GROUP
                                           POST OFFICE BOX 272789
                                           BOCA RATON, FL 33427

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




                                                                                                    s/ Doris Jones
Date:     Jul 21, 2020
     Case 9:20-cv-80604-RKA Document 24 Entered on FLSD Docket 07/21/2020 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Southern District of Florida


                 MORIAH AHARON, et al.                                )
                                                                      )
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                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 9:20-cv-80604-RKA
                                                                      )
         CHINESE COMMUNIST PARTY, et al.                              )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Communist Party of China
                                           The Central Committee of the Communist Party of China
                                           Attn.: Xi Jinping
                                           12 Fuyou Street, Xicheng District, Beijing, China 100017




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           MATTHEW T. MOORE, ESQ.
                                           THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                           D/B/A BERMAN LAW GROUP
                                           POST OFFICE BOX 272789
                                           BOCA RATON, FL 33427

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




                                                                                                      s/ Doris Jones
Date:           Jul 21, 2020
     Case 9:20-cv-80604-RKA Document 24 Entered on FLSD Docket 07/21/2020 Page 3 of 3



                                  UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida


               MORIAH AHARON, et al.                              )
                                                                  )
                                                                  )
                                                                  )
                        Plaintiff(s)                              )
                                                                  )
                            v.                                            Civil Action No. 9:20-cv-80604-RKA
                                                                  )
        CHINESE COMMUNIST PARTY, et al.                           )
                                                                  )
                                                                  )
                                                                  )
                       Defendant(s)                               )

                                                SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) People's Republic of China
                                       The State Council of the People's Republic of China
                                       Attn.: Li Keqiang
                                       2 Fuyou Street, Xicheng District, Beijing, China 100017




         A lawsuit has been filed against you.

         Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:

                                       MATTHEW T. MOORE, ESQ.
                                       THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                       D/B/A BERMAN LAW GROUP
                                       POST OFFICE BOX 272789
                                       BOCA RATON, FL 33427

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.




                                                                                                 s/ Doris Jones
 Date: Jul 21, 2020
